ERK’S OFF|CE

ATES D|STRICT COURT
‘lSTRlCT OF COLUMB|A
s. couRTHousE
rrlTuTloN AvENul-:, N.w.
INGTON. DC 20001

FlClAL.BlJSHQESS

CaS€ lZlO-CV-OOZlO-PLF

ggi§&$iima
QQDOJ. @299‘3

Document 4 Filed 03/04/10 Page 1 of 1
yi$"@%%
- § § MM’ 'BMU;;.¢ g;@
§ l MH‘ BO\NES

$ 00.44°

FEB 23 2510

 

..-. ___

£‘.!92\. DE iL 00 O`B¢’O'.L/iLO

F?E:'T`UF?N TC! .’S‘E.'NDE.'R
FITTENPTEID ~ NO'T' )(NO\))N
UN¢AEBL-E TD F`CJRWAF€D
BC.' .".E'OCJO:L£‘£?$BSBS?‘B *0914~0'352'9-~53'4--45

illl|))]lli!l!i?,}lllill]}!I]l]jlljll)]))Ill))]!j))}lllll))}jl

N`.£XZIE'

